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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


SAMIR HAMEL,
c/o DEMOCRACY FORWARD
FOUNDATION
P.O. Box 34553
Washington, D.C. 20043

and                                            Case No. 1:18-cv-1005 (RC)

WILLIAM FISCHER,
c/o DEMOCRACY FORWARD
FOUNDATION
P.O. Box 34553
Washington, D.C. 20043

               Plaintiffs,

       v.

U.S. DEPARTMENT OF VETERANS
AFFAIRS,
810 Vermont Avenue
Washington, DC 20420

and

PETER O’ROURKE,
in his capacity as the person claiming to be
the acting Secretary of Veterans Affairs,
810 Vermont Avenue
Washington, DC 20420

               Defendants.
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                                  AMENDED COMPLAINT

       1.      Plaintiffs Samir Hamel and William Fischer bring this action against Defendants

the U.S. Department of Veterans Affairs (the “Department” or the “VA”) and Peter O’Rourke, in

his capacity as the person claiming to be the acting Secretary of Veterans Affairs, seeking a

declaration that O’Rourke is not the lawful acting Secretary, and an injunction barring O’Rourke

and the Department from continuing to represent that O’Rourke is the acting Secretary and from

taking any action in reliance on O’Rourke’s purported authority.

       2.      According to press reports, the Trump administration and its allies in Congress seek

to privatize essential VA services, turning veterans’ health care over to a network of private

providers rather than the facilities and physicians that veterans have come to count on. But this

case is not about whether privatization is a good idea or a bad idea. This case is about who will

make that decision and, more broadly, who possesses the authority to make the many day-to-day

decisions regarding veterans’ benefits and care that the Secretary of Veterans Affairs has to make.

Specifically, this case is about whether President Trump may circumvent federal statutes and the

Constitution to install O’Rourke as the acting Secretary of Veterans Affairs.

       3.      The position falls to the Deputy Secretary, not O’Rourke, as a matter of law. The

VA’s statutory scheme provides that in the event of a vacancy in the Secretary position, the Deputy

Secretary shall become acting Secretary. Under the Federal Vacancies Reform Act of 1998 (the

“FVRA”), the President may bypass the default order of succession, but only if the previous

officeholder dies, resigns, or is otherwise unable to serve in the office—not if the previous

officeholder is fired. On March 28, 2018, President Trump unceremoniously fired the Secretary of

Veterans Affairs, Dr. David J. Shulkin, by tweet. The President did not, therefore, have legal




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authority under the FVRA to fill the vacant Secretary position with an acting officer of his choice.

O’Rourke’s appointment as acting Secretary was unlawful.

        4.      By disregarding statutory provisions addressing when an individual may be

designated to act as an officer in a Senate-confirmed position, the President has also avoided all

Congressional checks on his power to fill such positions, and in so doing has violated the

Appointments Clause of the Constitution.

        5.      Plaintiffs are veterans who are injured by the President’s unlawful appointment of

O’Rourke, O’Rourke’s unlawful assumption of authority, and the Department’s recognition of it.

They receive health care from the VA and are therefore subject to the effects of any decisions

O’Rourke makes with regard to health care services or other benefits; they are subject to continued,

profound uncertainty about how and under what conditions they will receive their benefits; they

are deprived of the right to a lawful acting Secretary who will vigorously represent their interests

before Congress and the rest of the executive branch; and they face the imminent threat that their

health care will be turned over to the private sector.

        6.      Thus, Plaintiffs respectfully request that the Court declare that O’Rourke is not the

lawful acting Secretary of Veterans Affairs, and enjoin O’Rourke and the Department from

continuing to represent that O’Rourke is the acting Secretary and from taking any action in reliance

on O’Rourke’s purported authority.

                                      Jurisdiction and Venue

        7.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims arise under the Constitution and laws of the United States.

        8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e)(1) because

Defendants are an agency of the United States and a purported official of the agency sued in his

official capacity.


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                                             Parties

       9.      Plaintiff Samir Hamel lives with his wife and three children in El Mirage, Arizona.

He enlisted in the United States Army Reserve shortly after the September 11th attacks. He served

as an Army chaplain until January 2014, when he was honorably discharged. From December 2004

to November 2005, Mr. Hamel deployed to Kuwait, Iraq, and Qatar.

       10.     Mr. Hamel applied and was enrolled in the VA health care system in 2007. He uses

his health benefits on a monthly basis, visiting the Southwest Veterans Affairs Health Care Clinic

in Phoenix, Arizona. Mr. Hamel is happy with the health care he has received at the VA; although

he has had the option, provided by the VA, to use private service providers, he prefers to use the

VA for all of his health care needs, so he can continue to see his own doctor.

       11.     Mr. Hamel is concerned that the administration will take action to privatize VA

health care services. He fears that VA leadership will support and encourage moving veterans like

him to private service providers, disrupting his care. If Mr. Hamel could not access VA health

care, he would either have to purchase health insurance on the individual market or go without

coverage.

       12.     Mr. Hamel received a home loan through the VA in May 2013 to purchase his

current residence. He also used the VA’s vocational rehabilitation and employment services to

obtain his Masters in Business Administration.

       13.     Plaintiff William Fischer lives in Washington, DC. He served in the United States

Marine Corps from March 2001 until he was honorably discharged in March 2009, including a

deployment to Fallujah, Iraq in 2004 where he received, among other awards, a Purple Heart.

       14.     Mr. Fischer is enrolled in the VA health care system. He uses his health benefits

for annual check-ups and on a periodic basis as necessary at the Washington, DC VA Medical




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Center. Mr. Fischer has had a positive experience with the VA. If Mr. Fischer did not have VA

health care, he would be forced to rely exclusively on private health coverage.

       15.     Like Mr. Hamel, Mr. Fischer is concerned about the potential privatization of VA

health care services. He fears that privatization would result in worse care for veterans as the VA

is set up specifically to meet the needs of veterans and has an institutional expertise unmatched in

the private sector.

       16.     Mr. Fischer also received education assistance through the GI Bill and previously

purchased a home using the VA home loan program.

       17.     As veterans who receive health care and other benefits from the VA, Plaintiffs are

injured by the President’s unlawful appointment of O’Rourke, O’Rourke’s unlawful assumption

of authority, and the VA’s acknowledgment of it. They continually receive benefits from the

Department pursuant to its regulations, they must comply with the Department’s requirements and

policies, and any disputes regarding their benefits are resolved by the Secretary and his designees

within the Department. They are therefore affected by any decisions O’Rourke makes with regard

to health care services or other benefits. Beyond these present injuries, Plaintiffs face the imminent

threat that their health care will be turned over to the private sector, decreasing their access to

health care services and the quality of those services.

       18.     Because of the dubious legality of O’Rourke’s appointment as acting Secretary,

Plaintiffs are subject to continued, profound uncertainty about how and under what conditions they

will receive their benefits. Certainty is essential with respect to medical benefits; Plaintiffs need to

know how and whether they can access VA health care services, especially given the possibility

that they could suffer a medical emergency. Plaintiffs are also deprived of the right to a lawful




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acting Secretary who will vigorously represent their interests before Congress and the rest of the

executive branch—and one whose authority is undisputed.

       19.     Defendant Department of Veterans Affairs is a federal agency headquartered in

Washington, DC, charged with “administer[ing] the laws providing benefits and other services to

veterans and the dependents and the beneficiaries of veterans.” 38 U.S.C. § 301. The Department

is treating Defendant O’Rourke as acting Secretary.

       20.     Defendant Peter O’Rourke is the Chief of Staff of Veterans Affairs and purports

to be the acting Secretary of Veterans Affairs. He is sued in his capacity as the person claiming to

be the acting Secretary, an official who “is responsible for the proper execution and administration

of all laws administered by the Department and for the control, direction, and management of the

Department.” 38 U.S.C. § 303.

                  The Department Provides Essential Health Care Services
                        and Other Benefits to Veterans Nationwide

       21.     The Department is the federal agency responsible for ensuring that our collective

obligations to those who defended our Nation are fulfilled. As the Supreme Court has recognized,

“[t]he solicitude of Congress for veterans is of long standing.” Henderson ex rel. Henderson v.

Shinseki, 562 U.S. 428, 440 (2011) (quoting United States v. Oregon, 366 U.S. 643, 647 (1961)).

To that end, the Department administers a complex and extensive benefits system and is charged

with fulfilling certain statutory duties and requirements.

       22.     Of utmost importance, the Department operates a health care system: the Veterans

Health Administration (“VHA”). The VHA “provide[s] a complete medical and hospital service

for the medical care and treatment of veterans.” 38 U.S.C. § 7301. The VHA “is America’s largest

integrated health care system, providing care at 1,240 health care facilities, including 170 medical

centers and 1,061 outpatient sites of care of varying complexity … , serving 9 million enrolled



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Veterans each year.” 1 In total, the VA health care system has “an annual budget of approximately

$68 billion.” 2

        23.       Plaintiffs and other veterans receive health benefits by applying to enroll in the VA

system in person, by telephone, by mail, or online. Each veteran is assigned to a “priority group,”

which determines when he or she will be able to enroll in VA health care and the precise level of

benefits they receive. “The enrollment system is based on priority groups to ensure care is available

to all enrolled Veterans,” consistent with Congressional budget limitations. 3

        24.       Once veterans have enrolled, they receive a personalized Veterans Health Benefits

Handbook that describes their benefits. Those benefits generally include “all the necessary

inpatient hospital care and outpatient services to promote, preserve, or restore your health,”

including “preventive care, inpatient care, ancillary services, specialty care, and mental health

services.” 4 The handbook informs veterans that “[a]long with your enrollment in the VA health

care system comes the assurance that health and treatment services will be available when and

where you need them.” 5 It continues: “You can expect VA’s highly qualified and dedicated health

care professionals to meet your needs, regardless of the treatment program, regardless of the

location.” 6 In other words, the VA emphasizes the reliability and stability of VA care.


1
    Veterans Health Administration, Dep’t of Veterans Affairs, https://www.va.gov/health/ (last
visited June 18, 2018).
2
    About VHA, Dep’t of Veterans Affairs, https://www.va.gov/health/aboutVHA.asp (last visited
June 18, 2018).
3
    Priority Groups, Dep’t of Veterans Affairs, https://www.va.gov/HEALTHBENEFITS
/resources/priority_groups.asp (last visited June 18, 2018).
4
    Veterans Health Benefits Handbook, Dep’t of Veterans Affairs 4, https://www.va.gov
/HEALTHBENEFITS/vhbh/publications/vhbh_sample_handbook_2014.pdf (last visited June 18,
2018).
5
    Id. at 1.
6
    Id.



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       25.     What distinguishes the care provided by the VA from other forms of health

coverage is that the VA generally provides health care directly to enrolled veterans, rather than by

contracting with private parties, like a typical private health insurer. Veterans receive a Veteran

Health Identification Card which they can use to obtain health care at any VA health facility. 7

When they see a health care provider, Plaintiffs and other veterans pay a minimal or no co-pay. 8

       26.     The VA also provides a number of other benefits to the Nation’s veterans. The

Veterans Benefits Administration, under the leadership of the Under Secretary for Benefits and

the Secretary, is charged with “the administration of nonmedical benefits programs of the

Department which provide assistance to veterans and their dependents and survivors.” 38 U.S.C.

§ 7701. Among other things, the VA provides disability compensation and a pension for disabled

veterans (id. §§ 1110, 1131, 1521); life insurance payments (id. § 1312); housing assistance for

homeless veterans (id. § 2011); compensation for burial expenses and designated national

cemeteries (id. §§ 2302, 2402); educational assistance, commonly referred to as the GI Bill (id.

§ 3461); housing and small business loans (id. §§ 3702, 3742); and vocational rehabilitation and

training (id. § 4102).

                         The Secretary Is Responsible for Ensuring Veterans
                         Get the Health Benefits to Which They Are Entitled

       27.     While the Secretary may delegate certain duties to his or her subordinates, it is the

Secretary who is ultimately responsible for administering the VA system, for making critical

decisions about veterans’ benefits, and for advocating on behalf of veterans to other executive

branch agencies and officials, to Congress, and to the public at large. Ultimately, the Secretary is



7
   Id. at 26.
8
   Determine Cost of Care, Dep’t of Veterans Affairs,                          https://www.va.gov
/HEALTHBENEFITS/cost/index.asp (last visited June 18, 2018).


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charged with achieving “the maximum feasible effectiveness, coordination, and interrelationship

of services among all programs and activities affecting veterans,” and “shall actively promote the

effective implementation, enforcement, and application of all provisions.” Id. § 523(a).

       28.     With respect to health coverage, the Secretary is obligated to “furnish hospital and

medical services which the Secretary determines to be needed … to any veteran for a service-

connected disability; and … to any veteran who has a service-connected disability rated at 50

percent or more,” and may also furnish nursing home care to certain veterans. Id. § 1710(a). To

that end, the Secretary must “establish and operate a system of annual patient enrollment,” which

“manage[s] the enrollment of veterans,” as described above. Id. § 1705(a).

       29.     The Secretary is charged with ensuring that the VHA adequately serves the veterans

under its care. He or she must “to the extent feasible, design, establish and manage health care

programs in such a manner as to promote cost-effective delivery of health care services in the most

clinically appropriate setting.” Id. § 1706(a). And he or she must “establish and conduct a

comprehensive program to monitor and evaluate the quality of health care furnished by the

Veterans Health Administration.” Id. § 7311. VA regulations provide that “[p]atients have a right

to be treated with dignity in a humane environment,” and “have a right to receive, to the extent of

eligibility therefor under the law, prompt and appropriate treatment for any physical or emotional

disability.” 38 C.F.R. § 17.33(a).

       30.     The Secretary also possesses substantial discretion to extend health care services to

those who are not otherwise statutorily entitled to them. For categories of veterans not enumerated

in the statute, “the Secretary may, to the extent resources and facilities are available, … furnish

hospital care, medical services, and nursing home care which the Secretary determines to be

needed.” 38 U.S.C. § 1710(a)(3). The Secretary can also provide medical care to the survivors and




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dependents of certain veterans. Id. § 1781(a). And the Secretary may provide benefits where an

“administrative error” results in non-payment (id. § 503(a)), or where a beneficiary suffers loss in

reliance on an erroneous decision (id. § 503(b)).

        31.     To fulfill his or her statutory duties, the Secretary has a number of statutory powers.

The Secretary can promulgate rules (id. § 501); reorganize the Department’s functions (id. § 510);

decide all questions of law and fact related to benefits determinations (id. § 511); delegate

functions to his or her subordinates (id. § 512); and settle tort claims against the Department (id.

§ 515). The Secretary may also “enter into contracts or agreements with private or public agencies

or persons” for “necessary services … as the Secretary may consider practicable.” Id. § 513; see

also id. §§ 1703 (authorizing the Secretary to enter into contracts for “hospital care and medical

services”); 8102 (authorizing the Secretary to acquire medical facilities).

        32.     As part of his or her duties with regard to ensuring the provision of health care

services to veterans, the Secretary has specific statutory obligations to staff the Office of the Under

Secretary for Health.

        33.     The Under Secretary for Health is “the head of, and is directly responsible to the

Secretary for the operation of, the Veterans Health Administration.” Id. § 305(b). He or she is

charged with numerous responsibilities for administering the VHA, including decisionmaking on

what types of medical services to outsource from the VHA. See, e.g., 38 C.F.R. §§ 17.52, 17.142.

As such, the Under Secretary for Health directs the administration of the entire VHA and, together

with the Secretary, is ultimately responsible for the treatment and care of all veterans like Plaintiffs

who receive medical care from the VA.

        34.     The Under Secretary for Health’s qualifications are set forth by statute: he or she

“shall be appointed without regard to political affiliation or activity and solely--




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       (A) on the basis of demonstrated ability in the medical profession, in health-care
       administration and policy formulation, or in health-care fiscal management; and
       (B) on the basis of substantial experience in connection with the programs of the
       Veterans Health Administration or programs of similar content and scope.

38 U.S.C. § 305(a)(2).

       35.      The Secretary is responsible for establishing a commission to recommend

individuals to the President for appointment to the Under Secretary for Health position. 38 U.S.C.

§ 305(c)(1). The membership of this commission must include veteran and medical provider

representatives, among others. Id. § 305(c)(2). The commission must recommend at least three

individuals for appointment, who the Secretary shall forward to the President with any comments

he or she considers appropriate. Id. § 305(c)(3).

       36.      The Under Secretary for Health position has been vacant since October 7, 2017,

and there is no current nomination for the position. 9 The VHA currently is run by an “Executive

in Charge” with the authority to perform the functions and duties of the Under Secretary for

Health. 10 The Executive in Charge cannot perform non-delegable duties of this position without

being appointed as acting Under Secretary, or otherwise complying with succession requirements.

       37.      The Secretary is responsible for taking action to fill the Under Secretary for Health

position.

       38.      The Secretary is also responsible for the appointment of numerous positions within

the Department, including leadership positions in the Office for the Under Secretary for Health.

See 38 U.S.C. § 7306(a), (c). These positions are required by statute to meet certain medical


9
    See, e.g., Nikki Wentling, Chief of VA Health System Steps Down, Stars & Stripes (Oct. 6,
2017),            https://www.stripes.com/news/chief-of-va-health-system-steps-down-1.491395;
Nominations, S. Comm. on Veterans’ Affairs, https://www.veterans.senate.gov/nominations (last
visited June 18, 2018).
10
    Carolyn Clancy, MD, Dep’t of Veterans Affairs, https://www.va.gov/directory/guide
/manager.asp?pnum=30310 (last visited June 18, 2018).


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qualifications, such as being a qualified doctor of medicine for the Deputy Under Secretary for

Health position and a qualified doctor of medicine or of dental surgery or dental medicine for

various Medical Director positions. Id. § 7306(a). Several of the appointments must be made upon

recommendation of the Under Secretary for Health. Id. § 7306(c).

       39.     Several of the leadership positions in the Office of the Under Secretary for Health

are empty or staffed by individuals serving in an acting capacity. For example, the Assistant

Deputy Under Secretary for Health for Organizational Integration position is vacant. Other key

positions, such as the Deputy Under Secretary for Health for Community Care and the Deputy

Under Secretary for Health for Policy and Services have acting officials, not permanent

appointments. 11

       40.     The Secretary is responsible for taking action to fill these important positions with

permanent appointees. 38 U.S.C. § 7306.

      The Secretary Is Responsible for Representing Veterans’ Interests to Congress

       41.     The Secretary is also responsible for representing the interests of veterans to

Congress, both through regular testimony and through written submissions.

       42.     For example, since the start of this calendar year, the Secretary has testified in

support of the Department’s budget request 12 and on the progress of implementing 2017 VA

Reform Legislation, including with respect to implementing electronic medical records. 13



11
    Key Staff, Veterans Health Administration, Dep’t of Veterans Affairs,
https://www.va.gov/directory/guide/keystaff.cfm?id=2001 (last visited June 18, 2018).
12
    Statement of the Hon. David J. Shulkin, MD, S. Comm. on Veterans’ Affairs (Mar. 21, 2018),
https://www.veterans.senate.gov/imo/media/doc/VA%20Shulkin%20Testimony%2003.21.2018.
pdf.
13
    Statement of the Hon. David J. Shulkin, MD, S. Comm. on Veterans’ Affairs (Jan. 17, 2018),
https://www.veterans.senate.gov/imo/media/doc/Shulkin%20VA%20Testimony%2001.17.2018.
pdf.


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       43.     The Secretary also has regular obligations to submit written reports to Congress.

       44.     Among these responsibilities, the Secretary is responsible for reporting to Congress

on the recommendations of numerous advisory committees related to veterans’ concerns. These

include six statutorily required advisory committees, as well as non-statutory advisory committees.

Their topics include: Former Prisoners of War (38 U.S.C. § 541), Women Veterans (id. § 542),

Prosthetics and Special-Disabilities Programs (id § 543), Minority Veterans (id. § 544), the

Readjustment of Veterans (id. § 545), and Disability Compensation (id. § 546).

       45.     In general, the authorizing statutes for these advisory committees require the

Secretary to appoint the members of the committees; to, on a regular basis, consult with and seek

advice of the committee with respect to the subject matter of the committee; and to submit periodic

reports by the committees to Congress with any comments concerning the report that the Secretary

considers appropriate.

       46.     At least one such reporting period is imminent. The Advisory Committee on the

Readjustment of Veterans’ annual report was due to the Secretary by March 31. See id. § 545(c)(1).

The Secretary has 90 days to transmit to the Committees on Veterans’ Affairs of the Senate and

House of Representatives a copy of the report, together with any comments and recommendations

concerning the report that the Secretary considers appropriate. See id. § 545(c)(2).

       47.     In the past this Advisory Committee has made specific recommendations on the

administration of healthcare by VHA. Among these is a recommendation it has made over the

course of multiple reports for VHA to implement strategies and policies to enhance coordination

of care for individual veteran clients between Vet Center and VA medical center providers. The




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Committee called for “clear and precise directives from VHA” leadership. 14 The Advisory

Committee has also made recommendations related to veteran access to mental health care

providers familiar with military culture and combat-theater experience and specific veteran suicide

prevention efforts. 15 Similar recommendations should now be before the Acting Secretary to

review, and report along with recommendations to Congress.

       The Administration’s Plans to Dismantle the Veterans Health Administration,
             Privatize Veterans’ Health Care, and Strip Veterans’ Benefits

       48.     As explained above, the Department is charged with ensuring that veterans receive

stable, predictable, high-quality health care. However, President Trump and his administration

have long supported the privatization of the VA—a decision that would threaten Plaintiffs and

other veterans’ health care and increase the cost of providing health care services.

       49.     During his campaign, then-candidate Trump and other campaign officials

advocated for policies that would direct veterans toward private health care providers rather than

the VA. Trump’s plan would have generally allowed “veterans to choose a doctor outside the VA

system,” who would be reimbursed by the VA. 16 In May 2016, one of his senior advisors gave

comments that indicated that Trump “would likely push VA health care toward privatization and

might move for it to become more of an insurance provider like Medicare rather than an integrated

hospital system.” 17 And in a July 2016 speech in Virginia Beach, Trump himself argued that


14
    Advisory Committee of the Readjustment of Veterans, Eighteenth Annual Report, Dep’t of
Veterans Affairs (Feb. 2017), https://www.va.gov/ADVISORY/Reports/ReportReadjust
Feb2017.pdf.
15
    Id.
16
    Quil Lawrence, Is Donald Trump Proposing Privatizing the VA?, NPR (July 13, 2016),
https://www.npr.org/2016/07/13/485782407/is-trump-proposing-privatizing-the-va.
17
    Ben Kesling, Donald Trump Adviser Signals Plan to Change Veterans’ Health Care, Wall St.
J. (May 12, 2016), https://www.wsj.com/articles/donald-trump-adviser-signals-plan-to-change-
veterans-health-care-1463064129.



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“[v]eterans should be guaranteed the right to choose their doctor and clinics, whether at a VA

facility or at a private medical center,” describing the VA as “corrupt and inefficient.” 18

        50.     Since his election, President Trump has continued to support privatization. During

the transition, Trump openly “consider[ed] changing the department to allow some veterans to

bypass the VA health-care system completely and get care exclusively from private-sector

hospitals and clinics”—a step “which many veterans groups argue is the first step toward

privatization.” 19 Toward the end of 2017, Trump proposed to eliminate eligibility requirements for

the use of private health coverage, which would transfer a greater share of funding from the VA

to private providers. 20 The administration has also suggested that it would consider merging parts

of the VA with Tricare, the military’s privately administered health care program for troops,

families, and retirees. 21

        51.     “Groups like the Koch brothers-backed Concerned Veterans for America”

(“CVA”) have driven the privatization agenda by “pushing to loosen current restrictions on

veterans receiving private-sector care.” 22 CVA, which “stands virtually alone among veterans’

groups in its commitment to vastly expanded private options for veterans,” “seems to have the



18
    See, e.g., Nathaniel Weixel, VA Privatization Fight Could Erupt in Confirmation Hearing, The
Hill (Apr. 11, 2018), http://thehill.com/policy/healthcare/382555-va-privatization-fight-could-
erupt-in-confirmation-hearing.
19
    Ben Kesling, Donald Trump Considers Moving VA Toward Privatization, Wall St. J. (Dec. 28,
2016),          https://www.wsj.com/articles/trump-considering-moving-va-toward-privatization-
1482974260.
20
    Eric Katz, Trump Administration’s Plan to Expand Private Care for Vets Sparks Fight Over
VA’s Future, Gov’t Exec. (Oct. 17, 2017), https://www.govexec.com/management/2017/10
/trump-administrations-plan-expand-private-care-vets-begins-fight-over-vas-future/141842/.
21
    Leo Shane III, White House Officials Looking Into Merging VA and Tricare Health Services,
Army Times (Nov. 17, 2017), https://www.armytimes.com/veterans/2017/11/17/white-house-
officials-looking-into-merging-va-and-tricare-health-services/.
22
    Weixel, supra.



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Trump administration’s ear.” 23 Indeed, President Trump’s most recent plan for the VA closely

“resembled the CVA’s priorities,” with six proposals that “drew directly on CVA ideas.” 24

       52.     CVA and other proponents of privatization have also pushed the administration to

hire friendly voices for critical positions in the federal government. “Darin Selnick, a former senior

advisor to the Koch-funded group,” served “as the veterans affairs adviser for the White House’s

Domestic Policy Council.” 25 Selnick was “pushed out of the [Department] last year after butting

heads with Shulkin over privatization of veterans health services.” 26 Just days before President

Trump fired former Secretary Shulkin, however, Selnick returned to a post at the VA. 27 President

Trump also considered Fox News host Pete Hegseth, the former executive director of CVA, as a

potential replacement for Shulkin, as well as Rick Perry, the current Secretary of Energy, who has

said that he “supports moving more veterans’ care to the private sector.” 28 And President Trump




23
    Josh Keefe, Is the VA Being Privatized? This Koch-Backed Group Says It Just Wants “Choice”
but Veterans Aren’t So Sure, Newsweek (Apr. 5, 2018), http://www.newsweek.com/koch-
brothers-backed-group-could-determine-future-va-870693.
24
    Isaac Arnsdorf, Inside the Trump Administration’s Internal War Over the VA, Politico Mag.
(Feb. 16, 2018), https://www.politico.com/magazine/story/2018/02/16/trump-veterans-affairs-va-
david-shulkin-217013.
25
    Nicholas Fandos & Dave Philipps, In Battle Over Future of Veterans’ Care, Moderation Wins,
for Now, N.Y. Times (Mar. 6, 2018), https://www.nytimes.com/2018/03/06/us/politics/veterans-
affairs-shulkin-koch-brothers.html.
26
    Lorraine Woellert, Shulkin Critic Leaves White House to Return to VA, Politico (Mar. 26,
2018), https://www.politico.com/story/2018/03/26/shulkin-va-white-house-486776.
27
    Id.
28
    Lisa Rein, Trump Eyes ‘Fox & Friends’ Personality Pete Hegseth to Take Over Veterans
Affairs, Wash. Post (Mar. 15, 2018), https://www.washingtonpost.com/politics/trump-eyes-fox-
and-friends-personality-pete-hegseth-to-take-over-veterans-affairs/2018/03/15/f8d03ef6-284e-
11e8-b79d-f3d931db7f68_story.html; Kaitlan Collins et al., Trump Eyes Rick Perry to Replace VA
Secretary, CNN (Mar. 18, 2018), https://www.cnn.com/2018/03/13/politics/rick-perry-david-
shulkin-veterans-affairs/index.html.



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has also leaned on Jeff Miller, a former member of Congress allied with CVA—and now a

lobbyist—as his “point man on veterans policy.” 29

       53.     Privatization would imperil Plaintiffs’ and other veterans’ essential health care. A

2016 study by RAND found that the “[q]uality of care delivered by VA is generally equal to or

better than care delivered in the private sector.” 30 Another 2016 RAND study, based on a meta-

analysis of 69 articles, confirmed that “[s]tudies of safety and effectiveness indicated generally

favorable performance by VA facilities compared to non-VA facilities.” 31 That study confirmed a

2010 report from the Department itself, which reviewed 55 studies and concluded that “the

available literature suggests that the care provided in the VA compares favorably to non-VA care

systems, albeit with some caveats.” 32

       54.     Moreover, the Department “has developed singular expertise on the medical needs

of veterans,” 33 in subjects like severe trauma, rare diseases, amputations, burns, exposure to toxic

substances like Agent Orange, physical therapy, anxiety, post-traumatic stress disorder, and other

service-related ailments. “VHA’s behavioral health programs, particularly with their integration

of behavioral health and primary care, are largely unrivalled.” 34 Because of its unique


29
    Arnsdorf, supra.
30
    Carrie M. Farmer et al., Balancing Demand and Supply for Veterans’ Health Care, Rand
Health Q. (June 20, 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5158276/.
31
    Claire O’Hanlon et al., Comparing VA and Non-VA Quality of Care: A Systematic Review, 32
J. Gen. Internal Med. 105, 118 (2016).
32
    Health Servs. Research & Dev. Serv., Comparison of Qualify of Care in VA and Non-VA
Settings: A Systematic Review, Dep’t of Veterans Affairs, at vi (Sept. 2010),
https://www.hsrd.research.va.gov/publications/esp/quality.pdf.
33
    Daniel Marans, Veterans Groups Worry VA Chief’s Ouster Sets the Stage for Privatization,
HuffPost (Mar. 29, 2018), https://www.huffingtonpost.com/entry/veterans-group-worry-david-
shulkin-ouster-va-privatization_us_5abd6b70e4b0a47437a9b663.
34
    Final Report, Comm’n on Care 22 (June 30, 2016), https://s3.amazonaws.com/sitesusa/wp-
content/uploads/sites/912/2016/07/Commission-on-Care_Final-Report_063016_FOR-WEB.pdf.



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competencies, the VA “provides highly integrated treatment specific to the needs of veterans—

care that is typically not available at any price to patients outside the VA system.” 35

        55.     Privatization would be more expensive to boot. “Policymakers in both parties argue

that offering veterans unrestricted choice between the public veterans health care system and

private medical providers would be too expensive and lead to the dismantling of the Veterans

Affairs system.” 36 The nonpartisan Congressional Budget Office has found that “the structure of

VHA and published studies suggest that VHA care has been cheaper than care provided by the

private sector.” 37 Services provided by the VA in the past “would have cost about 21 percent more

if those services had been delivered through the private sector.” 38 For these reasons, the Committee

for a Responsible Federal Budget estimated that Trump’s 2016 campaign “plan to reform the

veterans affairs system and increase veterans’ access to private doctors would cost about $500

billion” over the next ten years. 39

        56.     Most veterans oppose privatization. One survey found that “the vast majority of

veterans (87%) believe the federal government should provide a health care system dedicated to

the needs of ill, injured and wounded veterans,” despite the VA’s flaws. 40 Another found that



35
    Phillip Longman & Suzanne Gordon, VA Health Care: A System Worth Saving, Am. Legion,
https://www.legion.org/publications/238801/longman-gordon-report-va-healthcare-system-
worth-saving (last visited June 18, 2018).
36
    Fandos & Philipps, supra.
37
    Comparing the Costs of the Veterans’ Health Care System with Private-Sector Costs, Cong.
Budget Office 1 (Dec. 2014), https://www.cbo.gov/sites/default/files/113th-congress-2013-
2014/reports/49763-VA_Healthcare_Costs.pdf.
38
    Id. at 5.
39
    Promises and Price Tags: A Fiscal Guide to the 2016 Election, Comm. for a Responsible Fed.
Budget 5 (2016), http://www.crfb.org/sites/default/files/CRFB_Promises_and_Price_Tags.pdf.
40
    The DAV Veterans Pulse Survey, Disabled Am. Veterans (Nov. 11, 2015),
https://www.dav.org/wp-content/uploads/DAV-Pulse-Report-Final.pdf.



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veterans overwhelmingly reject the idea that “the VA health care system should be dismantled by

creating a subsidy-based private health insurance for veterans, shutdown completely and

outsourced to the private sector, or limited to only serving service-connected conditions.” 41

                               The President Fires Secretary Shulkin

       57.     On February 14, 2017, the Senate confirmed Dr. David J. Shulkin to serve as

Secretary of Veterans Affairs by a 100 to 0 vote—the only cabinet secretary in this administration

to be confirmed unanimously. 42

       58.     During his tenure, former Secretary Shulkin promised to prevent privatization of

VA health services, noting in one statement that: “Many of VA’s services cannot be replicated in

the private sector. In addition to providing some of the best quality overall health care in the

country, VA delivers world class services in polytrauma, spinal cord injury and rehabilitation,

prosthetics and orthotics, traumatic brain injury, post-traumatic stress treatments and other

behavioral health programs.” 43

       59.     Just over a year after his confirmation, on March 28, 2018, President Trump fired

former Secretary Shulkin. 44


41
    Our Care 2017: A Report Evaluating Veterans Health Care, Veterans of Foreign Wars (Mar.
2017),         https://www.vfw.org/-/media/vfwsite/files/advocacy/vfw-our-care-2017--executive-
summary.pdf?la=en.
42
    Wilson Andrews, How Each Senator Voted on Trump’s Cabinet and Administration Nominees,
N.Y.       Times,       https://www.nytimes.com/interactive/2017/01/31/us/politics/trump-cabinet-
confirmation-votes.html?_r=0&mtrref=en.wikipedia.org (last updated May 11, 2017).
43
    David Shulkin, Veterans Affairs Secretary - VA Health Care Will Not Be Privatized on Our
Watch, USA Today (July 24, 2017) https://www.usatoday.com/story/opinion/2017/07/24
/veterans-health-care-will-not-be-privatized-david-shulkin-column/499417001/.
44
    See, e.g., Nicholas Fandos & Maggie Haberman, Veterans Affairs Secretary Is Latest to Go as
Trump Shakes Up Cabinet, N.Y. Times (Mar. 28, 2018), https://www.nytimes.com
/2018/03/28/us/politics/david-shulkin-veterans-affairs-trump.html; Amanda Macias, David
Shulkin, Fired By Trump, Warns that Privatizing the Veterans Affairs Department Will Hurt
Veterans, CNBC (Mar. 29, 2018), https://www.cnbc.com/2018/03/29/david-shulkin-fired-by-



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        60.    That morning, former Secretary Shulkin spoke to the President, who “made no

mention of the fact that he was about terminate [him].” 45 Several hours later, however, the

President’s Chief of Staff, John Kelly, called Shulkin to inform him that the President intended to

fire him. 46

        61.    President Trump then “announced Shulkin’s ouster in a tweet.” 47 Specifically,

President Trump tweeted that he intended to nominate Dr. Ronny L. Jackson as the new Secretary

of Veterans Affairs, but was “thankful for Dr. David Shulkin’s service to our country and to our

GREAT VETERANS!” 48 When asked “if he was essentially fired via the tweet from the president,

Shulkin responded: ‘Yes.’” 49

        62.    Notwithstanding these public reports, the administration soon began to insist that

former Secretary Shulkin had resigned. On March 31, Spokeswoman Lindsey Walters explained

that “Secretary Shulkin resigned from his position as Secretary of the Department of Veterans




trump-warns-against-privatizing-the-va.html; Hope Yen & Zeke Miller, Trump Fires Veterans
Affairs Secretary Shulkin, Time (Mar. 28, 2018), http://time.com/5219737/trump-fires-veterans-
affairs-secretary-david-shulkin-admiral-ronny-jackson/.
45
    Rebecca Morin, Shulkin: Trump Didn’t Mention Firing in Call Hours Before He Was Fired,
Politico (Mar. 29, 2018), https://www.politico.com/story/2018/03/29/trump-shulkin-firing-tweet-
call-492412.
46
    Id.
47
    Todd Shields, Trump’s Outgoing Veterans Affairs Secretary Blasts ‘Toxic’ Washington,
Bloomberg (Mar. 29, 2018), https://www.bloomberg.com/news/articles/2018-03-28/trump-ousts-
shulkin-as-veterans-affairs-chief-in-latest-shakeup.
48
    Donald J. Trump (@realDonaldTrump), Twitter (Mar. 28, 2017, 2:31 PM), https://twitter.com
/realDonaldTrump/status/979108653377703936 [hereinafter “Trump Tweet”].
49
    Meagan Vazquez, Shulkin Says He Was Fired Via Trump Tweet, CNN (Apr. 2, 2018),
https://edition.cnn.com/2018/04/02/politics/shulkin-tweet-fired-cnntv/index.html.



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Affairs.” 50 This assertion has been “strongly disputed” by “a person familiar with Shulkin’s

dismissal … [who] not[ed] that he did not submit a resignation letter.” 51

       63.     By April 2, the administration changed its explanation again. White House

communications aide Mercedes Schlapp stated that Kelly “called Shulkin and gave him the

opportunity to resign.” 52 When pressed on whether that meant Shulkin had been fired, Schlapp

clarified that “General Kelly offered him the opportunity to resign. At this point, the president said

it was time to move on in terms of Veterans Affairs. He thanks Secretary Shulkin for his service.” 53

       64.     Former Secretary Shulkin’s dismissal was preceded by months of plotting by

administration officials, motivated by disagreements about “how far and how fast to privatize

health care for veterans, a long-sought goal for conservatives like the Koch brothers.” 54 “[T]he

president’s appointees have felt betrayed by what they see as backtracking at the department on

access to privately provided health care,” and in December “quietly bypassed the secretary to

advance legislation that would open the way for more privately provided health care for




50
    Andrew Restuccia, Did Shulkin Get Fired or Resign? This Is Why It Matters, Politico (Mar.
31, 2018), https://www.politico.com/story/2018/03/31/did-shulkin-get-fired-or-resign-veterans-
492877.
51
    Id.
52
    Juana Summers, Shulkin Says He Was Fired. The White House Said He Resigned. Here’s Why
It Matters, CNN (Apr. 2, 2018), https://www.cnn.com/2018/04/02/politics/shulkin-trump-
resigned-fired/index.html.
53
    Andrew Restuccia, White House Appears to Shift Explanation on Whether Shulkin Resigned
or Was Fired, Politico (Apr. 2, 2018), https://www.politico.com/story/2018/04/02/shulkin-resign-
or-fire-495074.
54
    Fandos & Haberman, supra.



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veterans.” 55 In other words, “[t]he fight over the leadership of the department is part of a long-

running battle over how to deliver health care to the nation’s veterans.” 56

        65.     In an editorial published the day he was fired, former Secretary Shulkin attributed

his dismissal to “advocates within the administration for privatizing V.A. health services,” who

“saw [him] as an obstacle to privatization who had to be removed.” 57 Specifically, Shulkin

believed that “privatization is a political issue aimed at rewarding select people and companies

with profits, even if it undermines care for veterans.” 58 In Shulkin’s view, “[t]he private sector,

already struggling to provide adequate access to care in many communities, is ill-prepared to

handle the number and complexity of patients that would come from closing or downsizing V.A.

hospitals and clinic.” 59

        66.     President Trump himself even admitted that he fired Shulkin to accelerate the

privatization of the VA, claiming in a speech on March 30 that “[w]e made changes because we



55
     Dave Philipps & Nicholas Fandos, Intrigue at V.A. as Secretary Says He Is Being Forced Out,
N.Y. Times, Feb. 15, 2018, https://www.nytimes.com/2018/02/15/us/veterans-affairs-david-
shulkin.html.
56
     Id.
57
     David J. Shulkin, Privatizing the V.A. Will Hurt Veterans, N.Y. Times, Mar. 28, 2018,
https://www.nytimes.com/2018/03/28/opinion/shulkin-veterans-affairs-privatization.html.
58
     Id.
59
     Id. Former Secretary Shulkin repeated his account in an interview with NPR, asserting that
“political forces in the Trump administration want to privatize the VA – and that he was standing
in the way.” Laurel Wamsley & Scott Neuman, Fired VA Secretary Says White House Muzzled
Him, NPR (Mar. 29, 2018), https://www.npr.org/sections/thetwo-way/2018/03/29/597866101
/fired-va-secretary-says-white-house-muzzled-him. According to Shulkin, “[t]here are many
political appointees in the VA that believe that we are moving in the wrong direction or weren’t
moving fast enough toward privatizing the VA.” Id. And he told MSNBC that “[t]here was clear
evidence … that the political appointees inside the VA were working against me and my leadership
team because they felt that we were trying to strengthen the VA rather than moving towards
privatization.” Phil Helsel, Fired VA Head Shulkin Says Political Appointees Were Focused on
Privatization, NBC News (Mar. 29, 2018), https://www.nbcnews.com/politics/politics-
news/fired-va-head-shulkin-says-political-appointees-were-focused-privatization-n861351.



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want them taken care of, we want them to have choice so that they can run to a private doctor and

take care of it, and it’s going to get done.” 60

        67.     More recently, “[i]n a private meeting … with major veterans groups,” Chief of

Staff Kelly, who delivered the news to former Secretary Shulkin that he had been fired, “repeatedly

said that the decision to remove Shulkin was President Donald Trump’s,” thereby “contradict[ing]

the White House’s claims about David Shulkin’s departure.” 61

        68.     In nominating Shulkin’s proposed replacement, Dr. Ronny Jackson, the White

House did not say that Shulkin resigned—as the White House typically does when nominating a

new official to replace an official who resigned. 62 Dr. Jackson’s nomination to serve as Secretary

of Veterans Affairs has since been withdrawn. 63

                  The President Unlawfully Bypasses the Order of Succession

        69.     Federal law presumptively mandates that “the Deputy Secretary shall be Acting

Secretary of Veterans Affairs … in the event of a vacancy in the office of Secretary.” 38 U.S.C.

§ 304. Thus, when Secretary Shulkin was fired, then-Deputy Secretary Thomas Bowman became




60
    Donovan Slack, Donald Trump Says David Shulkin Out of Sync with Agenda on Private Sector
Veterans Care, USA Today (Mar. 29, 2018), https://www.usatoday.com/story/news
/politics/onpolitics/2018/03/29/donald-trump-firing-va-secretary-says-he-fired-david-shulkin-
give-veterans-choice-private-sector-car/470598002/.
61
    Isaac Arnsdorf, White House Chief of Staff Contradicts White House Claim on VA Shakeup,
ProPublica (Apr. 16, 2018), https://www.propublica.org/article/david-shulkin-white-house-chief-
of-staff-contradicts-white-house-claim-on-va-shakeup.
62
    One Nomination Sent to the Senate Today, White House (Apr. 16, 2018),
https://www.whitehouse.gov/presidential-actions/one-nomination-sent-senate-today-5/.
63
    Cristiano Lima, Ronny Jackson Withdraws as Veterans Affairs Secretary Nominee, Politico
(Apr. 26, 2018), https://www.politico.com/story/2018/04/26/ronny-jackson-withdraws-as-
veterans-affairs-secretary-nominee-555110.



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the lawful acting Secretary. Before his appointment as Deputy Secretary, Bowman had a lengthy

career in VA leadership positions and other policy roles related to veterans’ affairs. 64

       70.     Bypassing the legal succession requirements, President Trump instead appointed

Robert Wilkie—the Under Secretary of Defense for Personnel and Readiness—to serve as acting

Secretary of Veterans Affairs (again by tweet). 65 Wilkie purported to serve as acting Secretary,

and the Department recognized him as the Secretary.

       71.     The President appears to have bypassed Deputy Secretary Bowman due to

Bowman’s opposition to privatization of VA health services. In an email sent in December 2017,

the President’s senior advisor on veterans affairs, Jake Leinenkugel, proposed that the

administration replace Bowman with himself, and former Secretary Shulkin with a “strong

political candidate,” as retaliation for their positions on privatization.66 Leinenkugel described

Bowman as an “obstructionist[]” opposed to the administration’s privatization agenda. 67

       72.     Then, in February 2018, the Washington Post reported that the administration again

sought to fire Deputy Secretary Bowman, who “was said to be at odds with the administration’s

plan to expand health care access for veterans through private producers,” as a “warning shot” to




64
    See Thomas G. Bowman, Deputy Secretary of Veterans Affairs, Dep’t of Veterans Affairs,
https://www.va.gov/opa/bios/docs/bowman.pdf (last visited June 18, 2018).
65
    See Trump Tweet, supra.
66
    See Fandos & Philipps, supra.
67
    Lisa Rein et al., VA Chief Fights for His Political Future Amid Internal Strife and Allegations
of Subterfuge, Wash. Post (Feb. 15, 2018), https://www.washingtonpost.com/politics/va-chief-
fights-for-his-political-future-amid-internal-strife-and-allegations-of-subterfuge/2018/02/15
/e0c5ca2e-1278-11e8-9570-29c9830535e5_story.html.



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former Secretary Shulkin. 68 “Bowman had pushed back on broad privatization efforts, leading

Trump to berate him in an Oval Office meeting for his lack of loyalty.” 69

       73.     President Trump has since announced that he intends to nominate Wilkie to serve

as the Secretary of Veterans Affairs, prompting Wilkie to resign from his position as acting

Secretary, 70 although Wilkie’s nomination has not yet been formally submitted to the Senate. On

May 30, after Wilkie resigned as acting Secretary, the President selected Defendant O’Rourke, the

Chief of Staff of Veterans Affairs, to serve as acting Secretary. 71 O’Rourke now purports to serve

as acting Secretary, and the Department recognizes him as the Secretary. 72

       74.     Bowman resigned as Deputy Secretary on June 15, 2018. 73 The VA’s organic

statute does not specify who must become the Secretary when the Deputy Secretary position is

vacant. However, under Executive Order 13,736, the Under Secretary for Benefits, Paul R.

Lawrence, would become the acting Secretary of Veterans Affairs. Providing an Order of

Succession Within the Department of Veterans Affairs, Exec. Order 13,736 (Aug. 16, 2016). In




68
    Emily Wax-Thibodeaux et al., White House Targets VA’s Deputy Secretary As ‘A Warning
Shot’ to Agency’s Leader, Wash. Post (Feb. 8, 2018), https://www.washingtonpost.com
/amphtml/world/national-security/white-house-targets-vas-deputy-secretary-as-a-warning-shot-
to-agencys-leader/2018/02/08/cc052006-0d11-11e8-95a5-c396801049ef_story.html.
69
    Woellert et al., Trump’s VA Pick Blindsides Staff, Deepens Agency Disarray, Politico (Mar.
29, 2018), https://www.politico.com/story/2018/03/29/trumps-veterans-pick-agency-451219; see
also Fandos & Haberman, supra (“The officials … came to consider Dr. Shulkin and his top deputy
as obstacles.”).
70
    Richard Sisk, Wilkie Steps Down As Acting VA Head While Awaiting Senate Confirmation,
Military.com (May 30, 2018), https://www.military.com/daily-news/2018/05/30/wilkie-steps-
down-acting-va-head-while-awaiting-senate-confirmation.html; see also 5 U.S.C. § 3345(b)(1).
71
    VA Announces New Acting Secretary, Retirement of Deputy Secretary, Dep’t of Veterans
Affairs (May 30, 2018), https://www.va.gov/opa/pressrel/pressrelease.cfm?id=4062.
72
    Acting     Secretary    of    Veterans      Affairs,    Dep’t   of    Veterans      Affairs,
https://www.va.gov/opa/bios/secva.asp (last visited June 18, 2018).
73
    VA Announces New Acting Secretary, Retirement of Deputy Secretary, supra.


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any event, the President lacks authority to select another official, such as Defendant O’Rourke, to

serve as acting Secretary.

                    Wilkie and O’Rourke Take Control of the Department

       75.     To date, Wilkie and Defendant O’Rourke have taken action in reliance on their

purported authority as acting Secretary.

       76.     As of June 18, 2018, the Department had issued nine final rules, ten proposed rules,

and seventy-one notices in the few months since Wilkie and O’Rourke took office, and apparently

in reliance on their authority as acting Secretary. The nine final rules include rules expanding

access to non-VA care through the Veterans Choice program, authorizing health care providers to

practice telehealth, amending the rating schedule that addresses gynecological conditions and

disorders of the breast, amending the rating schedule that addresses eye disabilities, and amending

acquisition regulations—rules that affect how and whether veterans will receive necessary health

care—as well as a rule that affects which veterans are eligible for Supplemental Service-Disabled

Veterans’ Insurance. 74 Three additional rules are currently pending review at the Office of

Information and Regulatory Affairs. 75 The Department has also issued guidance regarding staffing,

pay administration, histopathology technicians, licensed professional mental health counselors,

Congressional relations, and health care resources contracting. 76




74
    Veterans Affairs Department, Fed. Register, https://www.federalregister.gov/agencies
/veterans-affairs-department (last visited June 18, 2018)
75
    List of Regulatory Actions Currently Under Review, Office of Info. & Regulatory Affairs,
https://www.reginfo.gov/public/jsp/EO/eoDashboard.jsp (last visited June 18, 2018).
76
    VA Publications, Dep’t of Veterans Affairs, https://www.va.gov/vapubs/Search_action.cfm
?formno=&tkey=&dType=0&SortBy=issue&sort=desc&oid=0 (last visited June 18, 2018).



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       77.     Similarly, as of June 18, 2018, the Department had approved 524 contracts since

Wilkie took office. 77 At the same time, the dubious legality of Wilkie’s and O’Rourke’s respective

appointments has called the Department’s authority to enter contracts into question, including a

recent contract regarding the Department’s medical records system. 78 That contract was

announced by Wilkie on May 18. 79

       78.     Because Wilkie and O’Rourke were not authorized to enter into these contracts, the

availability of the services and materials provided pursuant to them could be jeopardized at any

time. Moreover, the Department could be subjected to conflicting and overlapping obligations,

draining the Department’s resources and reducing its ability to provide care to Plaintiffs and other

veterans. This problem will only increase with time, as O’Rourke takes or approves more and more

actions that are subject to invalidation. As a result, Plaintiffs’ and other veterans’ health care is

and will continue to be in imminent danger.

       79.     Wilkie used his platform as acting Secretary to advocate on behalf of reforms that

would push the VA toward privatization. On April 9, purporting to speak for “America’s veterans,”

he issued a statement urging Congress to pass a bill expanding the VA Choice program, which




77
    Opportunities, Fed. Bus. Opportunities, https://www.fbo.gov/index? (advanced search with
“Department of Veterans Affairs” as the agency and a contract award date between March 28 and
June 18, 2018) (last visited June 18, 2018).
78
    Leo Shane III, Ambitious VA Medical Records Overhaul in Jeopardy After Department
Shakeup, Army Times (Apr. 19, 2018), https://www.armytimes.com/veterans/2018/04
/19/ambitious-va-medical-records-overhaul-in-jeopardy-after-department-shakeup/.
79
    Jessica Davis, VA Officially Signs with Cerner on EHR Modernization Project, Healthcare IT
News (May 18, 2018), http://www.healthcareitnews.com/news/va-officially-signs-cerner-ehr-
modernization-project.



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“allow[s] Veterans to seek care in the private sector.” 80 Similarly, O’Rourke has advocated for

letting veterans “choose a local provider if that’s a better option for them.” 81

       80.     Senior staffers (including former Deputy Secretary Bowman) have also left the

Department, or have been reassigned within the Department, since Wilkie and O’Rourke took

office. For example, Scott Blackburn, the acting Executive in Charge for the Office of Information

and Technology, left the Department on April 17. 82

       81.     In a statement, VA Press Secretary Curt Cashour described the departed officials

as “employees who were wedded to the status quo and not on board with this administration’s

policies or pace of change.” 83 According to Cashour, the VA’s leadership “is now firmly aligned

with President Trump and his priorities,” “speaking with one voice to Veterans, employees and

outside stakeholders, such as Congress and veterans service organizations,” and “working closely

with the White House to implement the president’s priorities for VA.” 84 Those priorities include

“work[ing] with Congress to get community care reform legislation passed” that would increase

access to private health care providers, as well as “finaliz[ing] a decision on the department’s

electronic health record (EHR) modernization.” 85


80
    Statement by Acting VA Secretary Robert Wilkie – Congress Must Pass Choice Bill Now to
Give Best Care Options to Our Veterans, Dep’t of Veterans Affairs (Apr. 9, 2018),
https://www.va.gov/opa/pressrel/pressrelease.cfm?id=4036.
81
    Julie Grant, Acting VA Secretary: ‘This President Has Made a Promise to Veterans,’ CBS
Pittsburgh (June 7, 2018), http://pittsburgh.cbslocal.com/2018/06/07/peter-orourke-veterans-
accountability-whistleblower-act/.
82
    Jessie Bur, Veterans Affairs CIO Scott Blackburn Resigns, Fed. Times (Apr. 18, 2018),
https://www.federaltimes.com/management/leadership/2018/04/17/veterans-affairs-cio-scott-
blackburn-resigns/.
83
    Statement by VA Press Secretary Curt Cashour on VA’s Near-Term Priorities Under Acting
Secretary    Robert     Wilkie,    Dep’t    of   Veterans   Affairs   (Apr.    25,    2018),
https://www.va.gov/opa/pressrel/pressrelease.cfm?id=4043.
84
    Id.
85
    Id.


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        82.     Until Wilkie is confirmed by the Senate, O’Rourke will likely continue to serve as

acting Secretary.

                                            First Claim

    Wilkie’s and O’Rourke’s Appointments Violate the Federal Vacancies Reform Act,
       5 U.S.C. § 3345 et seq., and the Administrative Procedure Act, 5 U.S.C. § 706

        83.     Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.

        84.     Under the Federal Vacancies Reform Act of 1998, the President “may direct a

person who serves in an office for which appointment is required to be made by the President, by

and with the advice and consent of the Senate, to perform the functions and duties of the vacant

office temporarily in an acting capacity.” 5 U.S.C. § 3345(a).

        85.     However, the President’s power under the Act is limited; he may do so only if the

previous officeholder “dies, resigns, or is otherwise unable to perform the functions and duties of

the office.” Id. The statute does not permit the President to fill the vacancy if the previous

officeholder is removed from office or merely because the office is vacant, regardless of the reason

for the vacancy.

        86.     Former Secretary Shulkin did not “die” or “resign.” Nor was he “unable to perform

the functions and duties of the office.” He was ready and willing to continue serving as Secretary

of Veterans Affairs. Instead, he was fired by the President. The President therefore lacked the

power to appoint Wilkie or O’Rourke as acting Secretary.

        87.     Congress passed the FVRA to eliminate the “threat to the Senate’s advice and

consent power” posed by permitting the President to appoint acting officials at will. N.L.R.B. v.

SW Gen., Inc., 137 S. Ct. 929, 936 (2017). The President’s appointment of Wilkie and O’Rourke

in violation of the terms of the FVRA circumvents Congress’s power over the appointment process

entirely.



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         88.      Because Wilkie was not, and O’Rourke is not, the lawful acting Secretary, any

action that either official took or takes in the future “shall have no force or effect,” and “may not

be ratified” by a subsequent Secretary. 5 U.S.C. § 3348(d).

         89.      The President’s appointment of O’Rourke to serve as acting Secretary, O’Rourke’s

continued representation that he is the acting Secretary of Veterans Affairs, the Department’s

recognition that he currently serves in that office, and any actions taken by Wilkie or O’Rourke

pursuant to their purported authority as acting Secretary are therefore unlawful, violating the

FVRA, 5 U.S.C. § 3345 et seq., the Department’s order of succession statute, 38 U.S.C. § 304, and

the Administrative Procedure Act, 5 U.S.C. § 706.

                                             Second Claim

           Wilkie’s and O’Rourke’s Appointments Violate the Appointments Clause
                            of the Constitution, art. II, § 2, cl. 2

         90.      Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.

         91.      The Appointments Clause mandates that the President “shall nominate, and by and

with the Advice and Consent of the Senate, shall appoint Ambassadors, other public Ministers and

Consules, Judges of the Supreme Court, and all other Officers of the United States.” U.S. Const.

art. II, § 2, cl. 2.

         92.      Specifically, the Secretary of Veterans Affairs “is the head of the Department” of

Veterans Affairs “and is appointed by the President, by and with the advice and consent of the

Senate.” 38 U.S.C. § 303.

         93.      By directing Wilkie, and then O’Rourke, to serve as the acting Secretary of

Veterans Affairs, the President appointed them to that office within the meaning of the

Appointments Clause and Section 303 of Title 38 of the U.S. Code.




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       94.     However, neither O’Rourke nor Wilkie were nominated by the President nor

confirmed by the Senate to serve in that position. Nor did the President lawfully appoint them to

that office in an acting capacity under the terms of the FVRA, in derogation of the process

established by Congress to protect its authority under the Appointments Clause. Wilkie’s and

O’Rourke’s appointments as acting Secretary therefore violate the Appointments Clause.

       95.     The President’s appointment of O’Rourke to serve as acting Secretary, O’Rourke’s

continued representation that he is the acting Secretary, the Department’s recognition that he

currently serves in that office, and any actions taken by Wilkie or O’Rourke pursuant to their

purported authority as acting Secretary violate the Appointments Clause and are therefore void.

                                           Third Claim

         Plaintiffs Are Entitled to a Declaratory Judgment Under 28 U.S.C. § 2201

       96.     Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.

       97.     Under Section 2201 of Title 28 of the United States Code, “[i]n a case of actual

controversy within its jurisdiction, … any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration.”

       98.     There is an actual controversy between Plaintiffs and Defendants regarding

Wilkie’s and O’Rourke’s purported authority as acting Secretary of Veterans Affairs. Their

unlawful appointments call into question the lawfulness of any actions they have taken or that

O’Rourke will take while purporting to serve as acting Secretary, and thereby creates profound

uncertainty over the standards and procedures by which veterans, including Plaintiffs, will receive

the benefits to which they are entitled under federal law.

       99.     Any cutbacks in or additional requirements for obtaining veterans’ benefits are

presumed unlawful and subject to challenge if enacted under O’Rourke’s leadership. In particular,


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any actions the Department might take under O’Rourke’s authority to privatize veterans’ health

care, including new rules and agency guidance, contracts with third party service providers, and

changes to the procedures and manuals that govern veterans’ receipt of health care, would be

unlawful.

       100.     However, many of these changes may well take place without formal rulemaking

or other public process which allow Plaintiffs and other veterans to voice their concerns and

challenge unlawful action—or even to learn that such action has taken place. O’Rourke’s assertion

of authority to act in these innumerable ways subjects Plaintiffs to an ongoing risk of imminent

harm, as their health care and other benefits could be altered at any time and without other remedy.

       101.     Conversely, any benefits that Plaintiffs and other veterans might receive while

O’Rourke purports to serve as acting Secretary, especially any benefits received or anticipated as

a consequence of O’Rourke’s actions and policies, could be subject to challenge and recoupment

by the Department or third parties if O’Rourke’s tenure is later found to be unlawful. See 38 U.S.C.

§ 5316. 86 Instead of receiving, free and clear, the benefits statutorily owed to them by the

Department, Plaintiffs’ benefits are subject to a cloud of uncertainty that decreases their value and

harms Plaintiffs.

       102.     A declaration as to the lawful leadership of the VA is essential to resolve the

uncertainty and confusion that currently surrounds the relationship between veterans and the

Department.




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    Cf. James Clark, The VA Takes Back Millions in Benefits from Disabled Vets and Can’t Explain
Why, Task & Purpose (May 11, 2017), https://taskandpurpose.com/va-congress-separation-
disability-pay-recoupment/ (discussing recoupment of separation pay before payment of disability
benefits).


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                                         Prayer for Relief

       WHEREFORE, Plaintiffs respectfully request that the Court:

       1.       declare that O’Rourke’s and Wilkie’s appointments as acting Secretary of Veterans

Affairs were unlawful and that any actions taken in reliance on O’Rourke’s or Wilkie’s purported

authority are unlawful and void;

       2.       enjoin O’Rourke from continuing to represent that he is the acting Secretary of

Veterans Affairs, the Department from recognizing that he currently serves in that office, and both

O’Rourke and the Department from taking any action in reliance on O’Rourke’s purported

authority as acting Secretary of Veterans Affairs;

       3.       award Plaintiffs their attorneys’ fees, costs, and other disbursements in this action;

and

       4.       grant Plaintiffs such other relief as the Court deems just and proper.

Dated: June 20, 2018                                   Respectfully submitted,

                                                       /s/ John T. Lewis

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                                                       Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2018, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM-ECF system.



                                                       /s/ John T. Lewis
                                                       John T. Lewis
